Case 2:21-cr-00062 Document 367-6 Filed 09/20/23 Page 1 of 1 PagelD #: 3356

Dear Honorable {Sir / Madam},

First I would like to thank you for taking your valuable time to receive and read this letter and I
hope you allow me to write a brief reference to Case # 2:21-mj-00069, which involves Larry
Allen Clay Jr., who is being charged with a violation of 18 U.S.C. 1591 (a) (1), sex trafficking of

a minor.

Firstly, I do understand that Larry has been tried and convicted of the crime(s) he was accused
of and with that being said please allow me to offer my views/opinions for your learned
consideration.

I have known Larry for over 27 years and he is my brother-in-law. I can speak to you with
authority, in my humble opinion, about the moral character of Larry Clay Jr. and I hope your
good faith will take into account this brief letter when you have to make your decision on the
sentencing of Mr. Clay. Please understand that I do not make light of the charges/convictions
against him as they are very serious indeed. With that said please consider my following
Statements.

To be brief; Larry is a good person, brother-in-law and friend. He has, since I have known him,
shown himself to have a generous, kind and devoted character towards others. I have known him
to be a person with integrity that makes a good and at times a great effort to ensure that he acts
correctly, even though he does at times make mistakes, as do we all. He is a person who has
always shown a great sense of duty towards his family, friends and community.

I can truly understand how difficult it is for you to have to make a decision of this type and under
these circumstances, without really knowing the person in front of you, but I trust in God that
you can look at this letter and feel all the support that the family and friends of Larry Allen Clay
Jr. are trying to provide. All this in order to tell you that I trust your wise, compassionate, fair
and just decision, always considering the best for everyone.

Please do not hesitate to contact me if you feel the need for further information. I can best be
reached via email at mike_bishop@suddenlink.net or if preferred text or voicemail at 304-712-
5184.

Thank you.

Sincerely,
